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Inmate Name
Booking Number :
Pierce County Sheriffs Deparment
910 Tacoma Ave S

TACOMA WA 98402-2104

 

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WESTERN DISTRICT OF WASHINGTON AT TACOMA
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